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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                    BECKLEY DIVISION


UNITED STATES OF AMERICA,

                             Plaintiff,

v.                                                 CRIMINAL ACTION NO. 5:06-cr-00098-02

DOROTHY ANN OILER,

                             Defendant.



                         MEMORANDUM OPINION AND ORDER


       Before the Court is a motion filed by Defendant Dorothy Ann Oiler, pro se, to correct an

alleged Sentencing Guidelines calculation error pursuant to 18 U.S.C. § 3582(c)(2) [ECF 340].

By Order entered July 17, 2013, this motion was referred to United States Magistrate Judge R.

Clarke VanDervort for submission of proposed findings and a recommendation for disposition

(PF&R). In his PF&R filed July 24, 2013, Magistrate Judge VanDervort recommended that this

Court deny the motion.

       The Court is not required to review, under a de novo or any other standard, the factual or

legal conclusions of the magistrate judge as to those portions of the findings or recommendation

to which no objections are addressed. Thomas v. Arn, 474 U.S. 140, 150 (1985). Failure to file

timely objections constitutes a waiver of de novo review and the Defendant’s right to appeal this

Court's Order. 28 U.S.C. § 636(b)(1); see also Snyder v. Ridenour, 889 F.2d 1363, 1366 (4th Cir.

1989); United States v. Schronce, 727 F.2d 91, 94 (4th Cir. 1984). In addition, this Court need

not conduct a de novo review when a party “makes general and conclusory objections that do not
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direct the Court to a specific error in the magistrate’s proposed findings and recommendations.”

Orpiano v. Johnson, 687 F.2d 44, 47 (4th Cir. 1982). Here, objections to the PF&R were due on

August 12, 2013. To date, no objections have been filed.

       The Court therefore ADOPTS the PF&R [ECF 345] and DENIES Defendant’s motion

[ECF 340].

       IT IS SO ORDERED.

       The Court DIRECTS the Clerk to send a copy of this Order to the Defendant and

counsel, the United States Attorney, the United States Probation Office, and the United States

Marshal.

                                            ENTER:         October 22, 2013




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